            Case 1:19-cv-00442-JEB Document 8 Filed 04/23/19 Page 1 of 1



                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

BRISTOL-MYERS SQUIBB COMPANY

                                                       Civil Action No. 1:19-cv-442
                  Plaintiff,

       v.

L. FRANCIS CISSNA, et al.

                  Defendants.


                                  NOTICE OF DISMISSAL


       Pursuant to Federal Rules of Civil Procedure 41(a)(1)(A)(i), this action is dismissed,

without prejudice, by the Plaintiff, Bristol-Myers Squibb Company (“BMS”), in its entirety.



                                                    Respectfully submitted,

Dated: April 23, 2019                            MORGAN, LEWIS & BOCKIUS LLP

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